    Case 15-09750-JJG-7A                       Doc 32           Filed 04/21/17              EOD 04/21/17 15:46:56                       Pg 1 of 12



                                          UNITED STATES BANKRUPTCY COURT
                                            SOUTHERN DISTRICT OF INDIANA
                                               INDIANAPOLIS DIVISION

In re:                                                                 §      Case No. 15-09750-JJG-7
                                                                       §
ANTHONY A. GIRT                                                        §
MALINDA SUE GIRT                                                       §
                                                                       §
                            Debtors                                    §

                                               TRUSTEE’S FINAL REPORT (TFR)

The undersigned trustee hereby makes this Final Report and states as follows:

     1. A petition under chapter 7 of the United States Bankruptcy Code was filed on 11/24/2015. The
        undersigned trustee was appointed on 11/24/2015.

     2. The trustee faithfully and properly fulfilled the duties enumerated in 11 U.S.C. § 704.

     3. All scheduled and known assets of the estate have been reduced to cash, released to the debtor
        as exempt property pursuant to 11 U.S.C. § 522, or have been or will be abandoned pursuant to
        11 U.S.C. § 554. An individual estate property record and report showing the disposition of all
        property of the estate is attached as Exhibit A.

      4.         The trustee realized gross receipts of                                                                              $3,385.33

                          Funds were disbursed in the following amounts:

                          Payments made under an interim distribution                                                                      $0.00
                          Administrative expenses                                                                                          $2.48
                          Bank service fees                                                                                               $58.73
                          Other Payments to creditors                                                                                      $0.00
                          Non-estate funds paid to 3rd Parties                                                                             $0.00
                          Exemptions paid to the debtor                                                                                    $0.00
                          Other payments to the debtor                                                                                     $0.00

                          Leaving a balance on hand of1                                                                              $3,324.12

           The remaining funds are available for distribution.

     5. Attached as Exhibit B is a cash receipts and disbursements record for each estate bank account.



1
  The balance on funds on hand in the estate may continue to earn interest until disbursed. The interest earned prior to disbursements will be distributed
pro rata to creditors within each priority category. The trustee may receive additional compensation not to exceed the maximum compensation set forth
under 11 U.S.C. § 326(a) on account of the disbursement of the additional interest.

UST Form 101-7-TFR (5/1/2011)
    Case 15-09750-JJG-7A                       Doc 32           Filed 04/21/17              EOD 04/21/17 15:46:56                       Pg 2 of 12

     6. The deadline for filing non-governmental claims in this case was 05/10/2016 and the deadline
        for filing government claims was 05/22/2016. All claims of each class which will receive a
        distribution have been examined and any objections to the allowance of claims have been
        resolved. If applicable, a claims analysis, explaining why payment on any claim is not being
        made, is attached as Exhibit C.

     7. The Trustee’s proposed distribution is attached as Exhibit D.

     8. Pursuant to 11 U.S.C. § 326(a), the maximum compensation allowable to the trustee is $846.33.
        To the extent that additional interest is earned before case closing, the maximum compensation
        may increase.

        The trustee has received $0.00 as interim compensation and now requests the sum of $846.33,
for a total compensation of $846.332. In addition, the trustee received reimbursement for reasonable
and necessary expenses in the amount of $0.00, and now requests reimbursement for expenses of
$88.29, for total expenses of $88.29.

        Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the foregoing
report is true and correct.

Date: 04/17/2017                                                         By:       /s/ Randall L. Woodruff
                                                                                   Trustee

STATEMENT: This Uniform form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act exemption 5 C.F.R.
§ 1320.4(a)(2) applies.




2
 If the estate is administratively insolvent, the dollar amounts reflected in this paragraph may be higher than the amounts listed in the Trustee’s Proposed
Distribution (Exhibit D).

UST Form 101-7-TFR (5/1/2011)
                                                                                                                                                Page No:      1
               Case 15-09750-JJG-7A                     Doc 32            FORM
                                                                       Filed     1
                                                                             04/21/17            EOD 04/21/17 15:46:56                      Pg 3 of 12
                                               INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                      Exhibit A
                                                                ASSET CASES
Case No.:                     15-09750-JJG-7                                                     Trustee Name:                               Randall L. Woodruff
Case Name:                    GIRT, ANTHONY A. AND GIRT, MALINDA SUE                             Date Filed (f) or Converted (c):            11/24/2015 (f)
For the Period Ending:        4/17/2017                                                          §341(a) Meeting Date:                       01/12/2016
                                                                                                 Claims Bar Date:                            05/10/2016

                         1                               2                      3                         4                         5                         6

                 Asset Description                     Petition/        Estimated Net Value            Property               Sales/Funds              Asset Fully
                  (Scheduled and                     Unscheduled       (Value Determined by            Abandoned             Received by the        Administered (FA) /
             Unscheduled (u) Property)                  Value                 Trustee,           OA =§ 554(a) abandon.           Estate               Gross Value of
                                                                      Less Liens, Exemptions,                                                        Remaining Assets
                                                                         and Other Costs)

 Ref. #
1       Residential Real Estate 525                    $60,800.00                        $0.00           OA                                 $0.00                    FA
        Park Avenue Anderson, IN
        46012 Lot 28 in Ruddle's
         Addition
2        Residential Income Real Estate                $58,100.00                        $0.00           OA                                 $0.00                    FA
         1924 Lindberg Road Anderson,
         IN 46012
3        Residential Income Real Estate                $34,400.00                        $0.00           OA                                 $0.00                    FA
         3002 Columbus Avenue
         Anderson, IN 46013
4        Residential Income Real Estate                $18,000.00                        $0.00           OA                                 $0.00                    FA
         2632 South Main Street
         Anderson, IN 46016
5        Residential Income Real Estate                $27,300.00                        $0.00           OA                                 $0.00                    FA
         137 S. 6th St. New Castle, IN
         47362
6        Cash on hand                                        $25.00                     $25.00           OA                                 $0.00                    FA
7        Checking accounts and                            $700.00                        $0.00           OA                                 $0.00                    FA
         Financial deposits
8        Household goods, Furniture                     $4,000.00                        $0.00           OA                                 $0.00                    FA
         Electronic equipment
9        Family clothing                                  $400.00                        $0.00           OA                                 $0.00                    FA
10       TransAmerica Two policies                      $2,885.53                        $0.00           OA                                 $0.00                    FA
         Surrender values: Policy
         5000035227: $1146.99 Policy
         5000035226: $1332.44
11       PERF City of Anderson                            $668.00                        $0.00           OA                                 $0.00                    FA
12       Girt's Archery & Outfitters,                         $0.00                      $0.00           OA                                 $0.00                    FA
         Inc.
13       Koteewi Archery Sole                             $951.71                      $493.33                                           $493.33                     FA
         proprietorship
14       TMG Properties Sole                              $500.00                      $500.00           OA                                 $0.00                    FA
         proprietorship Management of
         rentals
15       2001 Chevy Truck High                          $5,000.00                    $1,415.00                                          $1,415.00                    FA
         mileage
16       2010 Kia Van Average mileage                   $7,500.00                        $0.00           OA                                 $0.00                    FA
17       Inventory in Archery business                  $2,735.00                        $0.00           OA                                 $0.00                    FA
18       Bow coming from Mathews,                       $1,053.00                        $0.00           OA                                 $0.00                    FA
         Inc. for client.
19       2015 tax refunds                      (u)            $0.00                  $1,477.00                                          $1,477.00                    FA


TOTALS (Excluding unknown value)                                                                                                         Gross Value of Remaining Assets
                                                      $225,018.24                    $3,910.33                                          $3,385.33                 $0.00
                                                                                                                                                     Page No:    2
               Case 15-09750-JJG-7A                     Doc 32             FORM
                                                                        Filed     1
                                                                              04/21/17             EOD 04/21/17 15:46:56                      Pg 4 of 12
                                              INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                           Exhibit A
                                                               ASSET CASES
Case No.:                    15-09750-JJG-7                                                         Trustee Name:                              Randall L. Woodruff
Case Name:                   GIRT, ANTHONY A. AND GIRT, MALINDA SUE                                 Date Filed (f) or Converted (c):           11/24/2015 (f)
For the Period Ending:       4/17/2017                                                              §341(a) Meeting Date:                      01/12/2016
                                                                                                    Claims Bar Date:                           05/10/2016

                         1                                2                      3                           4                         5                         6

                 Asset Description                    Petition/         Estimated Net Value              Property                Sales/Funds               Asset Fully
                  (Scheduled and                    Unscheduled        (Value Determined by              Abandoned              Received by the         Administered (FA) /
             Unscheduled (u) Property)                 Value                  Trustee,             OA =§ 554(a) abandon.            Estate                Gross Value of
                                                                      Less Liens, Exemptions,                                                            Remaining Assets
                                                                         and Other Costs)

    Major Activities affecting case closing:
     02/08/2016      Debtors begin paying non-exempt value of assets to bankruptcy estate. Trustee will monitor payments to ensure completion in a
                     reasonable time.


Initial Projected Date Of Final Report (TFR):           10/30/2016                                                    /s/ RANDALL L. WOODRUFF
Current Projected Date Of Final Report (TFR):                                                                         RANDALL L. WOODRUFF
                                                                                                                                                              Page No:1
                                                                             FORM 2
                 Case 15-09750-JJG-7A                         Doc 32        Filed 04/21/17              EOD 04/21/17 15:46:56                      Pg 5Exhibit
                                                                                                                                                        of 12B
                                                   CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                           15-09750-JJG-7                                                                 Trustee Name:                           Randall L. Woodruff
Case Name:                         GIRT, ANTHONY A. AND GIRT, MALINDA SUE                                         Bank Name:                              Bank of Texas
Primary Taxpayer ID #:             **-***7211                                                                     Checking Acct #:                        ******4262
Co-Debtor Taxpayer ID #:           **-***7212                                                                     Account Title:
For Period Beginning:              11/24/2015                                                                     Blanket bond (per case limit):          $1,000,000.00
For Period Ending:                 4/17/2017                                                                      Separate bond (if applicable):

       1                2                      3                                        4                                             5               6                   7

   Transaction       Check /              Paid to/                         Description of Transaction             Uniform          Deposit       Disbursement         Balance
      Date            Ref. #           Received From                                                             Tran Code           $                $


02/08/2016            (13)     Anthony Girt                     non-exempt value of archery business             1129-000             $493.33                                 $493.33
02/22/2016            (15)     Girt, Anthony and Malinda        partial payment of equity in truck               1129-000             $200.00                                 $693.33
03/28/2016            (19)     U.S.Treasury                     debtors' 2015 fed tax ref ck                     1224-000            $1,477.00                            $2,170.33
04/05/2016            (15)     Tony Girt                        partial payment of non-exempt equity in          1129-000             $200.00                             $2,370.33
                                                                '01 Chevy Trk
04/29/2016                     Bank of Texas                    Account Analysis Fee                             2600-000                                 $3.62           $2,366.71
05/17/2016            (15)     Tony Girt                        partial payment of non-exempt equity in          1129-000             $200.00                             $2,566.71
                                                                truck
05/17/2016            (15)     Tony Girt                        partial payment on non-exempt equity in          1129-000             $200.00                             $2,766.71
                                                                truck
05/31/2016                     Bank of Texas                    Account Analysis Fee                             2600-000                                 $4.07           $2,762.64
06/30/2016                     Bank of Texas                    Account Analysis Fee                             2600-000                                 $4.30           $2,758.34
07/14/2016            (15)     Tony Girt                        payment on balance due                           1129-000             $311.00                             $3,069.34
07/29/2016                     Bank of Texas                    Account Analysis Fee                             2600-000                                 $4.66           $3,064.68
08/09/2016            (15)     Anthony Girt                     balance owed re truck                            1129-000             $304.00                             $3,368.68
08/31/2016                     Bank of Texas                    Account Analysis Fee                             2600-000                                 $5.26           $3,363.42
09/30/2016                     Bank of Texas                    Account Analysis Fee                             2600-000                                 $5.23           $3,358.19
10/31/2016                     Bank of Texas                    Account Analysis Fee                             2600-000                                 $5.40           $3,352.79
11/04/2016           3001      International Sureties, Ltd.     Bond # 016028270                                 2300-000                                 $2.48           $3,350.31
11/30/2016                     Bank of Texas                    Account Analysis Fee                             2600-000                                 $5.21           $3,345.10
12/30/2016                     Bank of Texas                    Account Analysis Fee                             2600-000                                 $5.38           $3,339.72
01/31/2017                     Bank of Texas                    Account Analysis Fee                             2600-000                                 $5.38           $3,334.34
02/28/2017                     Bank of Texas                    Account Analysis Fee                             2600-000                                 $4.85           $3,329.49
03/31/2017                     Bank of Texas                    Account Analysis Fee                             2600-000                                 $5.37           $3,324.12

                                                                       TOTALS:                                                       $3,385.33        $61.21              $3,324.12
                                                                           Less: Bank transfers/CDs                                      $0.00         $0.00
                                                                       Subtotal                                                      $3,385.33        $61.21
                                                                           Less: Payments to debtors                                     $0.00         $0.00
                                                                       Net                                                           $3,385.33        $61.21


  For the period of 11/24/2015 to 4/17/2017                                                 For the entire history of the account between 02/08/2016 to 4/17/2017

  Total Compensable Receipts:                                  $3,385.33                    Total Compensable Receipts:                                   $3,385.33
  Total Non-Compensable Receipts:                                  $0.00                    Total Non-Compensable Receipts:                                   $0.00
  Total Comp/Non Comp Receipts:                                $3,385.33                    Total Comp/Non Comp Receipts:                                 $3,385.33
  Total Internal/Transfer Receipts:                                $0.00                    Total Internal/Transfer Receipts:                                 $0.00


  Total Compensable Disbursements:                                $61.21                    Total Compensable Disbursements:                                 $61.21
  Total Non-Compensable Disbursements:                             $0.00                    Total Non-Compensable Disbursements:                              $0.00
  Total Comp/Non Comp Disbursements:                              $61.21                    Total Comp/Non Comp Disbursements:                               $61.21
  Total Internal/Transfer Disbursements:                           $0.00                    Total Internal/Transfer Disbursements:                            $0.00
                                                                                                                                                     Page No:2
                                                                      FORM 2
                Case 15-09750-JJG-7A                 Doc 32          Filed 04/21/17              EOD 04/21/17 15:46:56                     Pg 6Exhibit
                                                                                                                                                of 12B
                                                 CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                        15-09750-JJG-7                                                            Trustee Name:                          Randall L. Woodruff
Case Name:                      GIRT, ANTHONY A. AND GIRT, MALINDA SUE                                    Bank Name:                             Bank of Texas
Primary Taxpayer ID #:          **-***7211                                                                Checking Acct #:                       ******4262
Co-Debtor Taxpayer ID #:        **-***7212                                                                Account Title:
For Period Beginning:           11/24/2015                                                                Blanket bond (per case limit):         $1,000,000.00
For Period Ending:              4/17/2017                                                                 Separate bond (if applicable):

      1                 2                    3                                  4                                            5               6                   7

  Transaction        Check /            Paid to/                    Description of Transaction            Uniform          Deposit     Disbursement          Balance
     Date             Ref. #         Received From                                                       Tran Code           $              $




                                                                                                                                                NET           ACCOUNT
                                                                         TOTAL - ALL ACCOUNTS                    NET DEPOSITS              DISBURSE          BALANCES

                                                                                                                           $3,385.33         $61.21              $3,324.12




 For the period of 11/24/2015 to 4/17/2017                                          For the entire history of the case between 11/24/2015 to 4/17/2017

 Total Compensable Receipts:                            $3,385.33                   Total Compensable Receipts:                                  $3,385.33
 Total Non-Compensable Receipts:                            $0.00                   Total Non-Compensable Receipts:                                  $0.00
 Total Comp/Non Comp Receipts:                          $3,385.33                   Total Comp/Non Comp Receipts:                                $3,385.33
 Total Internal/Transfer Receipts:                          $0.00                   Total Internal/Transfer Receipts:                                $0.00


 Total Compensable Disbursements:                         $61.21                    Total Compensable Disbursements:                                $61.21
 Total Non-Compensable Disbursements:                      $0.00                    Total Non-Compensable Disbursements:                             $0.00
 Total Comp/Non Comp Disbursements:                       $61.21                    Total Comp/Non Comp Disbursements:                              $61.21
 Total Internal/Transfer Disbursements:                    $0.00                    Total Internal/Transfer Disbursements:                           $0.00




                                                                                                     /s/ RANDALL L. WOODRUFF
                                                                                                     RANDALL L. WOODRUFF
                                      Case 15-09750-JJG-7A                  Doc 32 CLAIM
                                                                                     FiledANALYSIS
                                                                                           04/21/17    EOD 04/21/17 15:46:56
                                                                                                   REPORT
                                                                                                                                          Pg 7Page
                                                                                                                                                ofNo:
                                                                                                                                                   121                 Exhibit C


  Case No.                       15-09750-JJG-7                                                                                Trustee Name:           Randall L. Woodruff
  Case Name:                     GIRT, ANTHONY A. AND GIRT, MALINDA SUE                                                        Date:                   4/17/2017
  Claims Bar Date:               05/10/2016

 Claim               Creditor Name        Claim           Claim Class        Claim    Uniform     Scheduled    Claim        Amount        Amount       Interest         Tax             Net
  No.:                                    Date                               Status   Tran Code   Amount       Amount       Allowed        Paid                                      Remaining
                                                                                                                                                                                      Balance

          RANDALL L.                    02/08/2016   Trustee Expenses       Allowed   2200-000         $0.00      $88.29       $88.29          $0.00        $0.00            $0.00       $88.29
          WOODRUFF
           115-A E. 9th Street
           Anderson IN 46016
          RANDALL L.                    04/17/2017   Trustee                Allowed   2100-000         $0.00     $846.33      $846.33          $0.00        $0.00            $0.00      $846.33
          WOODRUFF                                   Compensation
           115-A E. 9th Street
           Anderson IN 46016
      1   FIRST MERCHANTS               02/10/2016   Real Estate-           Amended   4110-000         $0.00   $17,726.16        $0.00         $0.00        $0.00            $0.00        $0.00
          BANK, N.A.                                 -Consensual Liens
                                                     (mortgages, deeds of
                                                     trust, PMSI)
         c/o Paul J. Carroll
         One Indiana Square, Suite 1500
         Indianapolis IN 46204
    1A FIRST MERCHANTS                  02/10/2016   General Unsecured §    Allowed   7100-000         $0.00   $17,728.16   $17,728.16         $0.00        $0.00            $0.00   $17,728.16
        BANK, N.A.                                   726(a)(2)
         c/o Paul J. Carroll
         One Indiana Square, Suite 1500
         Indianapolis IN 46204
     2 QUANTUM3 GROUP                   02/16/2016   General Unsecured §    Allowed   7100-000         $0.00     $107.59      $107.59          $0.00        $0.00            $0.00      $107.59
        LLC AS AGENT FOR                             726(a)(2)
         Comenity Bank
         PO Box 788
         Kirkland WA 98083-0788
Claim Notes: (2-1) Money Loaned
      3   CAPITAL ONE BANK              02/27/2016   General Unsecured §    Allowed   7100-000         $0.00    $6,989.15    $6,989.15         $0.00        $0.00            $0.00    $6,989.15
          (USA), N.A.                                726(a)(2)
           PO Box 71083
           Charlotte NC 28272-1083
      4   CAPITAL ONE BANK              02/27/2016   General Unsecured §    Allowed   7100-000         $0.00    $8,841.71    $8,841.71         $0.00        $0.00            $0.00    $8,841.71
          (USA), N.A.                                726(a)(2)
           PO Box 71083
           Charlotte NC 28272-1083
                                    Case 15-09750-JJG-7A                 Doc 32 CLAIM
                                                                                  FiledANALYSIS
                                                                                        04/21/17    EOD 04/21/17 15:46:56
                                                                                                REPORT
                                                                                                                                       Pg 8Page
                                                                                                                                             ofNo:
                                                                                                                                                122                 Exhibit C


 Case No.                      15-09750-JJG-7                                                                               Trustee Name:           Randall L. Woodruff
 Case Name:                    GIRT, ANTHONY A. AND GIRT, MALINDA SUE                                                       Date:                   4/17/2017
 Claims Bar Date:              05/10/2016

Claim               Creditor Name       Claim           Claim Class       Claim    Uniform     Scheduled    Claim        Amount        Amount       Interest         Tax             Net
No.:                                    Date                              Status   Tran Code   Amount       Amount       Allowed        Paid                                      Remaining
                                                                                                                                                                                   Balance

    5   CAPITAL ONE NA                03/25/2016   General Unsecured §   Allowed   7100-000         $0.00     $269.61      $269.61          $0.00        $0.00            $0.00      $269.61
                                                   726(a)(2)
         c/o Becket and Lee LLP
         PO Box 3001
         Malvern PA 19355-0701
    6   PORTFOLIO RECOVERY            05/10/2016   General Unsecured §   Allowed   7100-000         $0.00     $245.11      $245.11          $0.00        $0.00            $0.00      $245.11
        ASSOCIATES, LLC                            726(a)(2)
         POB 12914
         Norfolk VA 23541
    7   PORTFOLIO RECOVERY            05/10/2016   General Unsecured §   Allowed   7100-000         $0.00    $1,975.85    $1,975.85         $0.00        $0.00            $0.00    $1,975.85
        ASSOCIATES, LLC                            726(a)(2)
         POB 12914
         Norfolk VA 23541
                                                                                                            $54,817.96   $37,091.80         $0.00        $0.00            $0.00   $37,091.80
                                     Case 15-09750-JJG-7A                    Doc 32 CLAIM
                                                                                      FiledANALYSIS
                                                                                            04/21/17    EOD 04/21/17 15:46:56
                                                                                                    REPORT
                                                                                                                                            Pg 9Page
                                                                                                                                                  ofNo:
                                                                                                                                                     123                 Exhibit C


Case No.                      15-09750-JJG-7                                                                                     Trustee Name:           Randall L. Woodruff
Case Name:                    GIRT, ANTHONY A. AND GIRT, MALINDA SUE                                                             Date:                   4/17/2017
Claims Bar Date:              05/10/2016


      CLAIM CLASS SUMMARY TOTALS

                                           Claim Class                                 Claim        Amount       Amount                   Interest            Tax                 Net
                                                                                      Amount        Allowed       Paid                                                         Remaining
                                                                                                                                                                                Balance


           General Unsecured § 726(a)(2)                                               $36,157.18   $36,157.18           $0.00                   $0.00           $0.00           $36,157.18

           Real Estate--Consensual Liens (mortgages, deeds of trust, PMSI)             $17,726.16        $0.00           $0.00                   $0.00           $0.00                   $0.00

           Trustee Compensation                                                          $846.33       $846.33           $0.00                   $0.00           $0.00               $846.33

           Trustee Expenses                                                               $88.29        $88.29           $0.00                   $0.00           $0.00                  $88.29
Case 15-09750-JJG-7A             Doc 32     Filed 04/21/17       EOD 04/21/17 15:46:56          Pg 10 of 12



                                                                                             Exhibit D
                                TRUSTEE’S PROPOSED DISTRIBUTION

Case No.:           15-09750-JJG-7
Case Name:          ANTHONY A. GIRT
                    MALINDA SUE GIRT
Trustee Name:       Randall L. Woodruff

                                                                Balance on hand:                   $3,324.12


         Claims of secured creditors will be paid as follows:

 Claim No. Claimant                     Claim Asserted           Allowed          Interim           Proposed
                                                                Amount of      Payments to           Amount
                                                                   Claim             Date
           1 First Merchants Bank,           $17,726.16              $0.00           $0.00                $0.00
             N.A.


                                           Total to be paid to secured creditors:                      $0.00
                                                            Remaining balance:                     $3,324.12

         Applications for chapter 7 fees and administrative expenses have been filed as follows:

 Reason/Applicant                                                   Total         Interim           Proposed
                                                                Requested      Payments to          Payment
                                                                                     Date
 Randall L. Woodruff, Trustee Fees                                $846.33            $0.00             $846.33
 Randall L. Woodruff, Trustee Expenses                              $88.29           $0.00               $88.29


                          Total to be paid for chapter 7 administrative expenses:                    $934.62
                                                             Remaining balance:                    $2,389.50

         Applications for prior chapter fees and administrative expenses have been filed as follows:
NONE



                       Total to be paid to prior chapter administrative expenses:                      $0.00
                                                             Remaining balance:                    $2,389.50

         In addition to the expenses of administration listed above as may be allowed by the Court,
priority claims totaling $0.00 must be paid in advance of any dividend to general (unsecured) creditors.

         Allowed priority claims are: NONE




UST Form 101-7-TFR (5/1/2011)
Case 15-09750-JJG-7A                Doc 32      Filed 04/21/17      EOD 04/21/17 15:46:56        Pg 11 of 12




                                                 Total to be paid to priority claims:                 $0.00
                                                                Remaining balance:                $2,389.50

        The actual distribution to wage claimants included above, if any, will be the proposed payment
less applicable withholding taxes (which will be remitted to the appropriate taxing authorities).

        Timely claims of general (unsecured) creditors totaling $36,157.18 have been allowed and will be
paid pro rata only after all allowed administrative and priority claims have been paid in full. The timely
allowed general (unsecured) dividend is anticipated to be 6.6 percent, plus interest (if applicable).

         Timely allowed general (unsecured) claims are as follows:

 Claim No. Claimant                                            Allowed Amt.           Interim      Proposed
                                                                    of Claim       Payments to      Amount
                                                                                         Date
         1A First Merchants Bank, N.A.                            $17,728.16             $0.00     $1,171.59
           2 Quantum3 Group LLC as agent for                          $107.59            $0.00         $7.10
           3 Capital One Bank (USA), N.A.                           $6,989.15            $0.00       $461.89
           4 Capital One Bank (USA), N.A.                           $8,841.71            $0.00       $584.32
           5 Capital One NA                                           $269.61            $0.00        $17.82
           6 Portfolio Recovery Associates, LLC                       $245.11            $0.00        $16.20
           7 Portfolio Recovery Associates, LLC                     $1,975.85            $0.00       $130.58


                                Total to be paid to timely general unsecured claims:              $2,389.50
                                                                Remaining balance:                    $0.00

        Tardily filed claims of general (unsecured) creditors totaling $0.00 have been allowed and will be
paid pro rata only after all allowed administrative, priority and timely filed general (unsecured) claims
have been paid in full. The tardily filed claim dividend is anticipated to be 0.0 percent, plus interest (if
applicable).

         Tardily filed general (unsecured) claims are as follows: NONE



                       Total to be paid to tardily filed general unsecured claims:                    $0.00
                                                              Remaining balance:                      $0.00

        Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims ordered
subordinated by the Court totaling $0.00 have been allowed and will be paid pro rata only after all
allowed administrative, priority and general (unsecured) claims have been paid in full. The dividend for
subordinated unsecured claims is anticipated to be 0.0 percent, plus interest (if applicable).




UST Form 101-7-TFR (5/1/2011)
Case 15-09750-JJG-7A            Doc 32   Filed 04/21/17      EOD 04/21/17 15:46:56          Pg 12 of 12



        Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims ordered
subordinated by the Court are as follows: NONE



                                    Total to be paid for subordinated claims:                      $0.00
                                                          Remaining balance:                       $0.00




UST Form 101-7-TFR (5/1/2011)
